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                               No. 24-40709

            IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FIFTH CIRCUIT

     DAVID ALLEN HAVERKAMP, ALSO KNOWN AS BOBBIE LEE HAVERKAMP
                                      Plaintiff-Appellant,


                                       v.


  DOCTOR LANNETTE LINTHICUM; OWEN MURRAY; CYNTHIA JUMPER; PHILLIP
KEISER; JOHN BURRUSS; MICHELLE ERWIN; KRIS COONS; BRIAN EDWARDS; JULIA
                                HILNER,
                                        Defendants-Appellees.
                   _________________________________
               On Appeal from the United States District Court
         for the Southern District of Texas, Corpus Christi Division
         No. 2:17-CV-18 (Hon. Drew B. Tipton, U.S. District Judge)
                  _________________________________

                    APPELLANT’S OPENING BRIEF
                   _________________________________




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February 5, 2025
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                 CERTIFICATE OF INTERESTED PERSONS

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Fifth Circuit Rule 28.2.1 have an

interest in the outcome of this case. These representations are made in order that the

judges of this Court may evaluate possible disqualification or recusal:

      Plaintiff-Appellant

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      Defendants-Appellees (appeared on Fifth Circuit Docket)

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      Cynthia Jumper
      Phillip Keiser
      John Burruss
      Michelle Erwin
      Kris Coons
      Bryan Edwards
      Julia Hilner



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Dated: February 5, 2025                         /s/D Dangaran
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                                                Attorney of Record for Plaintiff-
                                                Appellant, Bobbie Lee Haverkamp




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                STATEMENT REGARDING ORAL ARGUMENT

      Plaintiff-Appellant believes that oral argument would aid the decisional

process in a case of such “apparent complexity.” Haverkamp v. Linthicum, 6 F.4th

662, 672 (5th Cir. 2021) (Dennis, J., concurring). This appeal presents two primary

issues: whether the named defendants are proper defendants under Ex parte Young,

and whether the scope of Ex parte Young permits the injunctive relief sought.

      First, the district court’s order ignores Defendants’ testimony—provided to

the district court and relied upon by this Court—that two of the named defendants

could provide all relief sought, as well as representations by Defendants’ counsel to

Plaintiff’s appointed counsel providing the same information. Plaintiff presents both

a judicial estoppel argument and a fact-based argument that the named Defendants

are proper. Oral argument would aid this Court in assessing Plaintiff’s legal and fact-

based claims.

      Second, the district court erred by weighing the merits while conducting the

sovereign immunity analysis. The district court adopted an impermissibly narrow

view of the scope of relief sought under Ex parte Young. Plaintiff requests oral

argument to address Defendants’ arguments, which became the district court’s

errors, and ensure the appeal is properly limited to the narrow sovereign immunity

question at issue.




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                       JURISDICTIONAL STATEMENT

      The district court had federal question jurisdiction under 28 U.S.C. § 1331.

Eleventh Amendment state sovereign immunity did not deprive the district court of

jurisdiction because the Ex parte Young exception applied to Defendants’ conduct,

which Plaintiff Bobbie Lee Haverkamp alleged violated the Constitution. This Court

has jurisdiction to review the district court’s final judgment under 28 U.S.C. § 1291.

                         STATEMENT OF THE ISSUES

 I.   Whether Ms. Haverkamp named the proper defendants in her injunctive relief

claims when counsel for State Defendants informed Plaintiff’s counsel and the

district court that the named Defendants, including Defendant Dr. Owen Murray

specifically, would be able to provide all of Ms. Haverkamp’s requested relief; Ms.

Haverkamp’s medical provider testified that Defendant Murray directed him not to

refer Ms. Haverkamp for sex-reassignment surgery; and Defendant Dr. Lanette

Linthicum made multiple public statements in her official capacity declaring that

sex-reassignment surgery could not be provided under state policy.

II.   Whether Ms. Haverkamp’s request for the district court to enjoin State

Defendants from implementing state policy G-51.11 in a manner that prohibits one

type of medical care only for transgender individuals, in an alleged violation of the

Equal Protection Clause of the Fourteenth Amendment, states a permissible request

for prospective relief under Ex parte Young.



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                         STATEMENT OF THE CASE

I.    Preliminary Background

      This is the second time this case has been before this Court. In 2020, the

district court rejected Defendants’ sovereign immunity arguments in their joint

motion to dismiss. ROA.1728 –30. Defendants appealed, and this Court vacated and

remanded, “conclud[ing] that Haverkamp’s operative complaint does not adequately

plead that Defendants have a ‘sufficient connection [to] the enforcement of the

challenged act.’” Haverkamp v. Linthicum, 6 F.4th 662, 672 (5th Cir. 2021)

(“Haverkamp I”) (quoting City of Austin v. Paxton, 943 F.3d 993, 998 (5th Cir.

2019), cert denied --- U.S. ----,141 S. Ct. 1047 (2021)). Writing separately, Judge

Dennis encouraged the district court to “consider granting leave to amend” for Ms.

Haverkamp to cure the defect in the operative complaint: her “failure to sufficiently

connect these Defendants with the enforcement of any assertedly unconstitutional

policies or decisions.” Id. (Dennis, J., specially concurring). Judge Dennis also

“observe[d] that, given the apparent complexity of this case, it would be wholly

reasonable for the [district] court to conclude that appointment of counsel ‘would

advance the proper administration of justice.’” Id. (quoting Ulmer v. Chancellor,

691 F.2d 209, 213 (5th Cir. 1982)).

      On remand, Judge Hilda G. Tagle appointed counsel, ROA.2318, then later

recused herself, ROA.2342. The case was reassigned to Judge Drew B. Tipton,



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ROA.2343, who referred the case to Magistrate Judge Julie K. Hampton, ROA.2344.

Judge Hampton ordered Plaintiff to file a second amended complaint. ROA.2351.

Plaintiff provides the background of the new operative complaint in full. After

Plaintiff filed the Second Amended Complaint, ROA.2365, the parties conducted

discovery, including written discovery and several depositions, regarding the proper

parties under Ex parte Young, and served expert reports, including one by

Haverkamp’s previous treating physician Dr. Walter Meyer. ROA.4227.

II.   Factual Allegations in the Second Amended Complaint

      A. Ms. Haverkamp Was Denied Access to Prescribed Medical Care

      Bobbie Lee Haverkamp is a transgender woman incarcerated by the Texas

Department of Criminal Justice (“TDCJ”) in a men’s prison. ROA.2365 ¶ 1,

ROA.2366 ¶ 6. TDCJ contracted with the University of Texas Medical Branch

(“UTMB”) to provide medical and psychiatric services in TDCJ prisons. ROA.2369

¶ 14. UTMB provides medical care to Ms. Haverkamp and all those in her unit. See

ROA.2366 ¶ 6, ROA.2370 ¶ 21. UTMB’s responsibilities include making referrals

to specialists. ROA.2370 ¶ 21.

      Ms. Haverkamp was diagnosed with gender identity disorder in 2013.

ROA.2373 ¶ 30. Defendants subsequently substituted the label “Gender Dysphoria”

for the former “Gender Identity Disorder.” ROA.2373 ¶ 30 n.5. Gender dysphoria is

the distress that may accompany the incongruence between one’s experienced



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gender and one’s assigned gender. ROA.2373 ¶ 30 n.5 (quoting Am. Psych. Ass’n,

Diagnostic & Statistical Manual of Mental Disorders 451 (5th ed. 2013)). A doctor

at UTMB’s gender dysphoria clinic, Dr. Walter Meyer, examined Ms. Haverkamp

in October 2014. ROA.2373 ¶ 31. Dr. Meyer prescribed her with a twelve-month

course of estradiol, a feminizing hormone therapy, and referred her for gender-

reassignment surgery1 after one year of hormone therapy. ROA.2373 ¶ 31. Dr.

Meyer “confirmed that surgery was available to Ms. Haverkamp.” ROA.2373 ¶ 31.

Ms. Haverkamp requested surgery at the earliest possible time. ROA.2373 ¶ 32. Six

months later, Dr. Meyer reaffirmed that Ms. Haverkamp needed to take estradiol for

at least a year before she would be considered eligible for surgery. ROA.2373 ¶ 33.

      After more than a year on estradiol, in December 2015, Dr. Meyer increased

her estrogen dosage to completely suppress her testosterone, and told Ms.

Haverkamp she would need to be on the higher dosage of hormone therapy for at

least another year. ROA.2373 ¶ 34. Ms. Haverkamp filed a grievance regarding this

change of position, seeking confirmation that she would be able to receive gender-

affirming surgery. ROA.2374 ¶ 35. TDCJ denied her grievance, using the same

language as Dr. Meyer: “you must be on . . . higher estrogen for at least one year



1
  Throughout this brief and the record, sex-reassignment surgery, its abbreviation
“SRS,” gender-affirming surgery, and gender reassignment surgery are used
interchangeably. Ms. Haverkamp has specified that she seeks a vaginoplasty. See,
e.g., ROA.2372 ¶¶ 26–28, ROA.2376 ¶ 44, ROA.2377 ¶ 46; ROA.2634.

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before surgery can even be considered.” ROA.2374 ¶ 35. Ms. Haverkamp filed a

Step Two grievance, which was denied, indicating that “specialists must follow the

[Correctional Managed Health Care Committee] Policy G-51.11.” ROA.2374 ¶ 36;

see ROA.2376–77 ¶ 45 (alleging Dr. Linthicum oversees Step Two grievances and

thus denied Ms. Haverkamp’s Step Two grievance).

      At a follow-up appointment three months later, Dr. Meyer restated that Ms.

Haverkamp needed to remain on the higher estradiol dose for a year before surgery

could be considered. ROA.2375 ¶ 38. He also told her that “UTMB is going to have

to face the inevitable that gender reassignment surgery is going to happen.”

ROA.2375 ¶ 38. Ms. Haverkamp sent Dr. Meyer a follow-up letter indicating her

understanding that she was “supposed to be able to talk to a surgeon that performs

gender surgery.” ROA.2375 ¶ 38. But a few weeks later, UTMB changed course and

informed Ms. Haverkamp that she would not receive gender reassignment surgery.

ROA.2375 ¶ 39.

      B. Defendants Were Responsible for Enforcing an Unconstitutional
         Prohibition on Sex-Reassignment Surgery

      Ms. Haverkamp filed suit under 42 U.S.C. § 1983 seeking declaratory and

prospective injunctive relief to redress the failure of TDCJ’s medical staff to provide

her gender reassignment surgery. ROA.2366 ¶ 3.

      First, Ms. Haverkamp sued Dr. Owen Murray, ROA.2367 ¶ 10, UTMB

Medical Director and former Senior Vice President of Offender Health Services for

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the UTMB’s Correctional Managed Care Division, ROA.2504; ROA.2572–73. Dr.

Murray reviewed and adopted the “Inmate Health Services Plan” issued by the

Committee’s Joint Medical Directors Working Group. ROA.2367–68 ¶ 10. On

information and belief, Dr. Murray, who was responsible for supervising Ms.

Haverkamp’s treatment at UTMB at the Gender Dysphoria Clinic and overseeing

the diagnoses and recommendations made by UTMB practitioners, denied Dr.

Meyers’s recommended course of treatment for gender reassignment surgery after

March 8, 2016. ROA.2376 ¶¶ 42–43.

      Ms. Haverkamp also sued a number of doctors in their official capacities who

were serving as members of the Correctional Managed Health Care Committee

(“Committee”): Jeffrey Beeson, John Burruss, Robert Greenberg, Preston Johnson,

Cynthia Johnson, Philip Keiser, Lannette Linthicum, Erin Wyrick, and Joe Perez.

ROA.2366–67 ¶¶ 7–8. The Committee’s membership has changed since Ms.

Haverkamp filed suit. See ROA.2480. The most recent Committee members

identified on the record include Defendants Burruss, Greenberg, Cynthia Johnson,

Keiser, Linthicum, Perez, Edwards, Hilner, and Coons. See ROA.2480. This

Committee promulgates policies governing medical care for people in TDCJ

custody; enforces policy when there is a dispute between a treating physician and

the TDCJ, including by investigating medical grievances; developed and approved

a “managed health plan” that specifies care provided to incarcerated people; and



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otherwise furnishes advice and provides medical expertise to assist TDCJ in

implementing its policies. ROA.2369 ¶¶ 15–17. Ms. Haverkamp alleged that the

Committee enforces their policy, G-51.11, in a manner that gender reassignment

surgery is never allowed, even when medically necessary. ROA.2377–78 ¶ 51.

       In this appeal, Ms. Haverkamp is not pursuing claims against the Committee

Defendants, except for her separate claims against Defendant Dr. Linthicum, who

served as Executive Director of the Committee, ROA.2367 ¶ 9, ROA.2369–70 ¶ 18,

and who is TDCJ’s Director of Health Services, ROA.2505. In the relevant time

period when Ms. Haverkamp was denied treatment, Dr. Linthicum had the authority

to administer, manage, and supervise the daily operations of the Committee’s health

care plan and is responsible for administering the Inmate Health Services Plan.

ROA.2369 ¶ 18. Thus, Dr. Linthicum is responsible for implementing Policy G-

51.11. The Committee is required to enforce compliance with the contract between

TDCJ and the Committee. ROA.2370 ¶ 19. Ms. Haverkamp alleged that, in addition

to her role on the Committee, Dr. Linthicum denied her Step Two grievance and thus

denied her medically necessary care that other women can access. ROA.2376–77 ¶¶

45, 48.

III.   Procedural History

       As stated above, this case was previously before this Court. See supra pp. 2–

3. Plaintiff here focuses on the procedural history after the Second Amended



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Complaint was filed—which took place after this Court’s remand and the district

court appointed counsel, as described in Part I. See supra pp. 2–3.2

      On December 16, 2021, after a conference, the district court ordered Plaintiff

to file a Second Amended Complaint, striking Plaintiff’s pro se Second Amended

Complaint. ROA.2351. Plaintiff’s counsel filed Ms. Haverkamp’s Second Amended

Complaint—the operative complaint—on March 25, 2022. ROA.2379. All

defendants answered in July 2022. See ROA.2411, 2424, 2436. The parties engaged

in discovery over the next fifteen months. Defendants filed a motion for judgment

on the pleadings, ROA.2498, and contemporaneously filed a motion for summary

judgment, ROA.2520.3

      Defendants filed their motion for judgment on the pleadings “pursuant to

Federal Rule of Civil Procedure 12(c) challenging the Court’s subject matter

jurisdiction.” ROA.2503, 2505. Defendants attached an affidavit, a transcript of Dr.

Murray’s deposition, Dr. Joseph Penn’s expert report, and Ms. Haverkamp’s

grievance records as evidence. ROA.2505.

      Defendants advanced three arguments that Ms. Haverkamp’s suit was barred



2
 The full procedural history is in the district court’s order. See ROA.2633–37.
3
 Because the Motion for Summary Judgment was denied as moot, ROA.2652, Ms.
Haverkamp does not summarize Defendants’ arguments therein or her responses in
opposition. Ms. Haverkamp only notes that the summary judgment motion is the
proper vehicle for conducting any inquiry into the merits of her Equal Protection
Clause claim, as she argues below, see infra pp. 36–39.

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by Eleventh Amendment sovereign immunity. See ROA.2507. First, they argued that

Ms. “Haverkamp cannot show that any of the Defendants have the authority and

duty to enforce a policy which denies [her] SRS, panties, or makeup,” thus, they are

“improper parties under Ex parte Young and their sovereign immunity remains

intact.” ROA.2508–09. They cited the allegations connecting the Committee

members, ROA.2509, Dr. Linthicum, ROA.2509–11, and Dr. Murray, ROA.2511–

12, to her denial of gender reassignment surgery. Second, they argued that an

injunction ordering any of these Defendants to provide surgery “requires them to

take affirmative, discretionary action in their official capacities” and therefore is

impermissible under Ex parte Young. ROA.2512. Finally, Defendants addressed the

merits of the Equal Protection Clause claim to argue that because there is no ongoing

violation of federal law, Ms. Haverkamp failed to establish a claim under Ex parte

Young. ROA.2513–14.4 According to Defendants, these three reasons showed that

Defendants retained sovereign immunity and deprived the district court of subject-

matter jurisdiction. ROA.2503, 2505, 2508–09, 2516.

      Plaintiff opposed both the Motion for Judgment on the Pleadings and the

Motion for Summary Judgment, ROA.2567, 2584, filed a Rule 12(d) motion to


4
 Defendants also argued that Ms. Haverkamp lacks Article III standing. ROA.2514–
15. This claim is not at issue because the district court did not reach it. See
ROA.2652. Ms. Haverkamp does not appeal the district court’s mootness decision
regarding her bra and long hair pass. ROA.2640–42. Further, she does not appeal
her requests for panties and cosmetics.

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convert the motion for judgment on the pleadings to a motion for summary

judgment, ROA.2568–69,5 and filed sur-replies addressing the Rule 12(c) motion

and the motion for summary judgment, ROA.2611–17, 2618–24.

      For the same reasons discussed below at pp. 24–35, Ms. Haverkamp argued

that Defendants were proper defendants under Ex parte Young because “[t]aking an

‘active role’ in enforcing state policy or ‘compulsion or constraint’ pursuant to state

policy’” alleges an ongoing violation of federal law. See ROA.2571 (quoting Paxton,

943 F.3d at 999). First, Ms. Haverkamp presented an email from Defendants’

counsel indicating Dr. Murray and the other Defendants named in the Second

Amended Complaint “have the authority to provide all of the relief sought through

this lawsuit.” ROA.2572; see ROA.4215–19.

      Second, Ms. Haverkamp presented a report by her former gender dysphoria

clinician at UTMB’s gender dysphoria clinic, Dr. Meyer, who testified that Dr.

Murray, who at all relevant times was responsible for overseeing the UTMB gender

dysphoria clinic and providing treatment to transgender inmates, instructed Dr.

Meyer to not refer surgery as a treatment for gender dysphoria in any instance. See

ROA.2574–75; ROA.4253–55. Ms. Haverkamp also presented Dr. Murray’s

deposition testimony, in Dr. Murray’s capacity as a 30(b)(6) corporate representative


5
  The district court did not address the motion to convert. See ROA.2625. Ms.
Haverkamp does not press the issue on appeal and therefore does not summarize
those arguments here.

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for UTMB and TDCJ, in which Dr. Murray described his and Dr. Linthicum’s

“authority” to approve all requests for surgery. ROA.2574; ROA.4446 at 47. Taking

all this evidence into consideration, Ms. Haverkamp argued that Dr. Murray

enforced a blanket prohibition on surgery. See ROA.2574–75.

      As to Dr. Linthicum, Ms. Haverkamp established her involvement in

decisions regarding sex-reassignment surgery based on the same binding 30(b)(6)

corporate representative testimony on behalf of TDCJ and UTMB, ROA.2574–75,

and presented emails written by Dr. Linthicum making official statements that

“[g]ender reassignment surgery . . . is not currently covered in the TDCJ offender

health care plan,” ROA.2576; see ROA.4643. Finally, Ms. Haverkamp argued that

her relief is within the scope of Ex parte Young because her injunction sought “to

ensure that state officers comply with federal law” by providing “constitutionally

mandated medical care.” ROA.2581.

      The parties filed reply and sur-reply briefs addressing the various legal issues.

For the first time in their reply brief, Defendants attempted to recant their counsel’s

statement that Dr. Murray and the other named Defendants “have the [authority] to

provide all of the relief sought through this lawsuit.” ROA.2605 (quoting

ROA.2572). Defendants argued that neither Dr. Murray nor Dr. Linthicum ever took

action against Ms. Haverkamp’s requested care. See ROA.2605–07. Plaintiff replied




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that “Defendants should be estopped from now arguing” that Dr. Murray does not

have the authority to provide all relief sought through the lawsuit. ROA.2612.

        The district court granted Defendants’ motion for judgment on the pleadings

and denied Defendants’ motion for summary judgment as moot. ROA.2626. The

district court held that Defendants “retain their sovereign immunity under Ex parte

Young.” ROA.2651. First, the district court dismissed claims against the Committee

members because the Second Amended Complaint did not prove the Committee

members had “the power to enforce the policies [they] promulgate[].” ROA.2646.6

Next, the district court dismissed claims against Dr. Linthicum because her

supervisory role did not establish her “involvement in the investigation or the denial

of [Ms. Haverkamp’s] grievance” seeking sex-reassignment surgery. ROA.2647.

        The district court did not decide whether Dr. Murray was a proper defendant

for relief. See ROA.2648 (“The Court need not resolve the issue of whether Dr.

Murray . . . had the authority to approve Haverkamp for [surgery].”). Rather, the

district court determined that “[e]ven if Dr. Murray does” have the authority to

approve Ms. Haverkamp’s surgery, “the relief requested is not permitted under the

Ex parte Young exception.” ROA.2648–49. Specifically, the district court agreed

with Defendants that in light of Gibson v. Collier, 920 F.3d 212 (5th Cir. 2019),

male-to-female sex reassignment surgery is a “highly discretionary decision” such


6
    Ms. Haverkamp does not appeal the dismissal of the committee members.

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that “an injunction requiring Dr. Murray or medical providers under his direction to

perform [it] would impose upon their medical discretion in a manner that Ex parte

Young prohibits.” ROA.2648–49. Thus, the district court held that “Dr. Murray

retains sovereign immunity.” ROA.2650. Finally, the district court held that the

Second Amended Complaint did not show a connection between Defendants and the

security policies that led to the denial of Ms. Haverkamp’s undergarments and

makeup requests. ROA.2651.7 The district court dismissed the case for lack of

subject-matter jurisdiction. See ROA.2652.

      The district court emphasized that “[i]t would be improper to opine on

Haverkamp’s equal-protection claim, Article III standing, or the propriety of an

injunction under the PLRA in light of the Court’s sovereign-immunity holdings.”

ROA.2652. The district court entered final judgment on September 23, 2024.

ROA.2653. Ms. Haverkamp timely appealed on October 23, 2024. ROA.2654.

IV.   Relevant Facts Outside the Pleadings

      Because the district court based its ruling on subject-matter jurisdiction only,

the district court considered evidence outside the pleadings.8 See ROA.2626–33,

2638–39, 2647–49. Therefore, Plaintiff here presents relevant evidence outside the


7
  Ms. Haverkamp does not appeal the denial of these items.
8
  “On issues involving jurisdiction, the district court may consider evidence outside
the pleadings and resolve factual disputes.” In re Complaint of RLB Contracting,
Inc., 773 F.3d 596, 601 (5th Cir. 2014), overruled on other grounds as recognized
by In re Bonvillian Marine Serv., Inc., 19 F.4th 787, 790 (5th Cir. 2021).

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pleadings, which Plaintiff also presented to the district court and which is included

in the Record on Appeal, to guide this Court’s review of the record.

      A. Defendants Represented to the District Court and to Plaintiff’s
         Counsel that Plaintiff Had Named Defendants Who Could Provide All
         Relief Sought

      The record contains an order entered before the operative complaint was filed,

which indicated the district court’s understanding, based on Defendants’

representations, that Dr. Murray is a proper defendant. The magistrate judge issued

a report and recommendation stating that “[d]uring the litigation of this case, the

undersigned was advised that the appropriate defendants were Dr. Owen Murray

from [UTMB] and the principal members of the Correctional Managed Health Care

(CMHC) committee.” ROA 1289–90. The magistrate judge had “issued an order

directing Plaintiff to show cause why Dr. Penn should not be dismissed from this

action without prejudice as the proper defendants have been identified.” ROA.1290

(citing ROA.732). “Plaintiff responded that it would be premature to dismiss Dr.

Penn who had presented himself as an accountable party.” ROA.1290 (citing

ROA.915–17). The magistrate judge continued: “Plaintiff acknowledged, however,

that Dr. Murray and the CMHC committee members are the proper defendants in

this case.” ROA.1290. The magistrate judge concluded: “Dr. Penn should be

dismissed from this action as the appropriate defendants capable of providing

Plaintiff [her] requested relief have been identified.” ROA.1290–91. Defendants did



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not object, and the district court entered an order dismissing Dr. Penn from the

complaint based on representations by Defendants that “other appropriate

defendants capable of providing Plaintiff’s requested relief have been identified in

the amended complaint.” ROA.1384.

      Defendants’ counsel took additional litigation positions based on the same

grounds provided to and adopted by the district court. On May 11, 2023, Plaintiff’s

counsel, after taking the 30(b)(6) deposition of Defendant Murray, asked

Defendants’ counsel: “Based on Dr. Murray’s recent testimony that Dr. Penn has

primary responsibility for managing the Gender Dysphoria clinic and would be

responsible for reviewing any treatment recommendation, are Defendants opposed

to my re-addition of Dr. Penn as a defendant?” ROA.4219. On May 16, 2023,

Defendants’ counsel responded:

             We oppose re-adding Dr. Penn as a defendant. We also
             believe it is unnecessary from Plaintiff’s perspective. Dr.
             Murray is Dr. Penn’s superior and, along with the other
             named Defendants, has the authority to provide all of the
             relief sought through this lawsuit. In other words, if an
             injunction were to be issued against Dr. Murray in his
             official capacity, he and the other named Defendants
             would have the power to ensure that the terms of the
             injunction were satisfied, including by delegating tasks to
             Dr. Penn, if necessary.

ROA.4219. The parties proceeded to take additional depositions and conduct

additional discovery based on that representation regarding the appropriate parties.




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      B. Defendant Murray Enforced a Prohibition on Sex-Reassignment
         Surgery

      The district court’s order presented a disputed fact issue relevant to Ms.

Haverkamp’s claims against Defendant Murray, but did not resolve that disputed

fact issue. See ROA.2647–48.

             i. Dr. Meyer’s Report

      Plaintiff’s expert Dr. Walter J. Meyer III, who had previously treated

Haverkamp at UTMB’s gender dysphoria clinic, ROA.4227 ¶ 2, submitted an

August 18, 2023 report, which Ms. Haverkamp attached to her opposition to

Defendants’ motion for judgment on the pleadings. ROA.4224. Dr. Meyer included

the following expert opinions in his report:

   • “TDCJ and UTMB have denied Haverkamp’s many requests for sex-

      reassignment surgery as a treatment for Gender Dysphoria and have denied

      Haverkamp medically necessary treatment.” ROA.4229 ¶ 22.

   • “TDCJ inmates cannot receive surgery to change their sex.” ROA.4229 ¶ 23.

   • “Gender Dysphoria consultants [in UTMB’s Gender Dysphoria Specialty

      Clinic] were prohibited from recommending or referring any inmate for sex-

      reassignment surgery as a treatment for Gender Dysphoria.” ROA.4229 ¶ 24.

   • “UTMB and TDCJ provide vaginoplasty surgery as a medically necessary

      treatment for cisgender female inmates.” ROA.4230.



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• “Dr. Owen Murray is the provider at UTMB who has the authority to ‘approve

   a provider’s request for sex reassignment surgery’ for an inmate experiencing

   Gender Dysphoria.” ROA.4254 ¶ 90.

• “When I accepted the job at the Clinic, I was expressly told by at least Dr.

   Murray and Dr. Penn that ‘this clinic would not offer surgery’ as a treatment

   for Gender Dysphoria.” ROA.4254 ¶ 93.

• “I was expressly told on several occasions by Dr. Penn, Dr. Murray, and others

   that we were not allowed to refer or recommend inmates for surgery as a

   treatment for Gender Dysphoria.” ROA.4255 ¶ 93.

• “TDCJ and UTMB had a prohibition on sex-reassignment surgery as a

   treatment for Gender Dysphoria.” ROA.4255 ¶ 93.

• “[T]he prohibition on referrals or recommendations for surgery was justified

   by the application of Policy G-51.11.” ROA.4255 ¶ 93.

• “I have reviewed Dr. Penn’s testimony in which he stated that I had the ability

   to recommend inmates for surgery. See [ROA.4537–38] at 212:17-213:9. I

   disagree with that testimony, and it is inconsistent with my experience at the

   UTMB/TDCJ Gender Dysphoria Specialty Clinic.” ROA.4255 n.98.




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Defendants chose to not take Dr. Meyer’s deposition. Defendants also never filed

any Daubert motion and never otherwise sought to limit or exclude Dr. Meyer’s

testimony. ROA.2619.

            ii. Defendant Murray’s Deposition Testimony

      During discovery, Plaintiff’s counsel deposed Defendant Dr. Owen Murray as

a 30(b)(6) witness for TDCJ and UTMB on various topics, including “TDCJ’s denial

of sex reassignment surgery as a medical treatment for Plaintiff.” 4439 at 20:8–9.

Defendant Murray is the Vice President of Inmate Health Services at UTMB,

ROA.4440 at 24:6–7, and also serves as the medical director of UTMB Correctional

Managed Care, ROA.4441–42, also known as the UTMB medical director,

ROA.4455 at 83:3.

      Defendant Murray made a number of statements relevant to the consideration

of his status as a defendant as well as Ms. Haverkamp’s claims. First, Defendant

Murray testified that he must approve any referrals for sex-reassignment surgery as

medically-necessary treatment “through a discussion with Dr. Linthicum.”

ROA.4446 at 45:7–47:15. Second, in direct conflict with Ms. Haverkamp’s expert

Dr. Meyer’s testimony, Defendant Murray testified that Dr. Meyer could have sent

a request or referral for surgery to Defendant Murray. ROA.4451 at 65–67. Finally,

Defendant Murray agreed that “UTMB provides vaginoplasty surgery for

biologically female inmates.” ROA.4461 at 106:25-107:2.



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           iii. Dr. Penn’s Deposition Testimony

      Dr. Penn was another designated 30(b)(6) deposition witness for TDCJ and

UTMB. ROA.4494 at 38:22–25. Dr. Penn oversees and directs UTMB’s Gender

Dysphoria Specialty Clinic. ROA.4495 at 42–43. Dr. Penn testified that Defendant

Murray reviewed and revised the Inmate Health Services Plan, which set out the

covered care for those in TDCJ custody. See ROA.4507 at 89–90. In direct conflict

with Plaintiff’s expert Dr. Meyer’s testimony, Dr. Penn said that he “never once told

[gender specialty clinicians] or advised them or insinuated any kind of prohibition”

against sex-reassignment surgery. ROA.4513 at 116 at 22–23. Later in the

deposition, Dr. Penn testified that gender dysphoria clinicians, such as Dr. Meyer,

do not know, and had never been told, that they have the authority to refer people

for surgery as a treatment for gender dysphoria. ROA.4539. Further, Dr. Penn

testified that he, Defendant Murray, and Dr. Linthicum would “review” any referral

for sex-reassignment surgery. ROA.4538 at 213–16.

      Dr. Penn testified that he instructed Dr. Meyer and other clinicians at UTMB’s

gender specialty clinic that “[t]heir job is [to determine if patients] have gender

dysphoria, and if so, what hormone treatment would be the best for them and to

monitor the treatment.” ROA.4528 at 176. He told Dr. Meyer in a meeting, “don’t

get out of your lane,” when Dr. Meyer wrote that undergarments were medically

necessary for a transgender patient. ROA.4529 at 177. In conflict with this



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testimony, Dr. Penn testified that he “can’t tell our gender dysphoria specialist what

to do.” ROA.4538 at 215.

      Moreover, in conflict with Dr. Meyer’s testimony, Dr. Penn said that Dr.

Meyer “could have made the recommendation to medical” to provide Ms.

Haverkamp surgery. ROA.4537 at 212. Dr. Penn agreed that a nurse practitioner in

the gender dysphoria specialty clinic wrote in her medical notes that Ms. Haverkamp

“continues to work with an attorney to pursue legal action regarding gender-

affirming treatments” and “would like to receive additional therapies.” ROA.4533

at 193.

      C. Defendant Linthicum Enforced a Prohibition on Sex-Reassignment
         Surgery

      In September 2019, Defendant Linthicum made an official statement via email

declaring that sex-reassignment surgery “is not a covered benefit under the Offender

Health Care Plan.” ROA.4638. And in November 2015, she stated in an email to Dr.

Penn, with the intent to revise a public statement going to the press, that “[s]ex

reassignment surgery is in a category of elective surgery and is currently not covered

in the offender health care plan.” ROA.4639–40. Dr. Penn, however, testified that

sex reassignment surgery is not a prohibited procedure, ROA.4512 at 110, in direct

conflict with Dr. Linthicum’s written emails and a TDCJ “Fact Sheet,” ROA.4519

at 137–40, ROA.4521–22 at 147–52, and Dr. Meyer’s testimony based on his

experience working at the Gender Dysphoria Clinic. Dr. Penn also testified that “Dr.

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Linthicum’s interpretation of the Offender Health Care Plan” is “that sex

reassignment surgery is in a category of elective surgery and is currently not covered

in the Offender Health Care Plan.” ROA.4521 at 148.

      Second, as stated above, Defendant Murray testified that he would need to

approve any referrals for sex-reassignment surgery as medically necessary

treatment, “through a discussion with Dr. Linthicum.” ROA.4446 at 45:7–46:1. Dr.

Penn agreed. He testified that he, Defendant Murray, and Defendant Linthicum

would “review” any referral for sex-reassignment surgery. ROA.4538 at 213–14.

       Dr. Penn’s testimony further confirmed Dr. Linthicum’s role. Dr. Penn

agreed that the Inmate Health Services Plan contains contractual language that

states: “No proceeds from this contract shall be used to pay for elective cosmetic

surgery without prior written approval of the TDCJ division director for Health

Services.” ROA.4508 at 96. And then he testified that Dr. Linthicum had previously

“give[n] verbal approval for elective cosmetic surgery.” ROA.4508 at 96.

Specifically, Dr. Penn testified that Dr. Linthicum approved breast reconstruction

surgery for a cisgender woman after she had a mastectomy. ROA.4509 at 97.

                       SUMMARY OF THE ARGUMENT

      Bobbie Lee Haverkamp has sought sex-reassignment surgery since at least

2015. She has jumped through all the hoops put forth by her providers: her hormone

levels have been in the normal female range since March 2016; she filed grievances



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seeking a referral for surgery and appealed those grievances; she has continually

requested sex-reassignment surgery at medical visits through at least October 2022;

and her former treating physician, Dr. Meyer, recommends her for surgery and

concluded that it is a medically necessary treatment for Ms. Haverkamp’s diagnosed

gender dysphoria. See ROA.4239–43. Nevertheless, her medical providers have not

referred her to see a surgical specialist. She filed suit against Defendants Murray and

Linthicum for enforcing a policy prohibiting her providers from referring her and

other transgender patients to receive sex-reassignment surgery.

      The district court erred by dismissing the claims against Defendants Murray

and Linthicum based on sovereign immunity. Dr. Murray and Dr. Linthicum are

proper defendants under Ex parte Young. First, Defendants’ counsel represented to

the district court and the parties that Dr. Murray was a proper defendant, and the

district court and the parties relied on that representation. Defendants are therefore

estopped from now arguing that Dr. Murray is an improper defendant for injunctive

relief. In any event, Dr. Murray and Dr. Linthicum collaborate in reviewing policies

and individual patients’ portfolios when a patient is referred for a surgery.

      Ms. Haverkamp has alleged, and the evidence confirms, that Dr. Murray

instructed his subordinates that they were not permitted to refer transgender patients

for sex-reassignment surgery. And Dr. Linthicum has stated that view in official

statements to the press and in a TDCJ “Fact Sheet.” The Inmate Health Care Plan



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shows that Dr. Linthicum has decisionmaking authority over whether elective

surgeries will be provided. Because Dr. Linthicum has determined that sex-

reassignment surgery is elective and has stated numerous times that sex-

reassignment surgery is not permitted, covered, or provided—and because she works

with Dr. Murray closely when these requests arise—the evidence shows that,

alongside Dr. Murray, Dr. Linthicum enforces this policy in a way that prohibits Ms.

Haverkamp from accessing sex-reassignment surgery, in an alleged violation of the

Equal Protection Clause. Thus, Dr. Linthicum’s sovereign immunity is waived.

      When analyzing the proper scope of relief under Ex parte Young, any inquiry

into the merits is improper. The district court erred by considering the merits of Ms.

Haverkamp’s Equal Protection Clause claim rather than assessing her claim under

the required elements of Ex parte Young: 1) Ms. Haverkamp sued state officers

acting in their official capacities, 2) she sought prospective injunctive relief to

redress ongoing conduct, and 3) she alleged a violation of federal, not state, law. Her

claim is within the proper scope of Ex parte Young relief because an injunction

ordering Defendants to provide medical services without undue discrimination does

not fall outside the permissible scope of relief.




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                                    ARGUMENT

I.    Standard of Review

      This Court reviews the grant of a Rule 12(c) motion for judgment on the

pleadings de novo. Armstrong v. Ashley, 60 F.4th 262, 269 (5th Cir. 2023).

      When “considering a challenge to subject matter jurisdiction, the district court

is free to weigh the evidence and resolve factual disputes in order to satisfy itself

that it has the power to hear the case.” Flores v. Pompeo, 936 F.3d 273, 276 (5th Cir.

2019) (cleaned up). “A district court may dispose of a motion to dismiss for lack of

subject matter jurisdiction based on (1) the complaint alone; (2) the complaint

supplemented by undisputed facts; or (3) the complaint supplemented by undisputed

facts plus the court’s resolution of disputed facts.” Id. (cleaned up). This Court is

“deferential to the district court’s jurisdictional findings of fact, which [this Court]

review[s] for clear error.” Id.

II.   Ms. Haverkamp Named Proper Defendants Under Ex parte Young

      Dr. Owen Murray, in his official capacity as Vice President of Inmate Health

Services at UTMB and the UTMB Correctional Managed Health Care Medical

Director, and Dr. Lannette Linthicum, in her official capacity as TDCJ Medical

Director, are proper parties under Ex parte Young.

      The district court held that Defendants “retain their sovereign immunity under

Ex parte Young.” ROA.2651. The district court did not decide whether Dr. Murray



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was a proper defendant regarding the relief requested. See ROA.2648. And the

district court dismissed Ms. Haverkamp’s claims against Dr. Linthicum because it

found Ms. Haverkamp did not prove Dr. Linthicum’s involvement in denying Ms.

Haverkamp’s request for sex-reassignment surgery. See ROA.2647.

      When alleging a claim under Ex parte Young, there must be a “special

relation” between the state official being sued and the challenged action. Ex parte

Young, 209 U.S. 123, 157 (1908). That is, the plaintiff must plausibly allege that the

defendant has “a measure of proximity to and responsibility for the challenged state

action,” such that enjoining that defendant will effectively resolve the claim. 17A

James W. Moore et al., Moore’s Federal Practice – Civil § 123.40 (3d ed. 2024). In

short, “[t]o be sued, state officials must ‘have some connection to the state law’s

enforcement.’” Tex. Democratic Party v. Abbott, 961 F.3d 389, 400 (5th Cir. 2020)

(quoting Air Evac EMS, Inc. v. Tex. Dep’t of Ins., 851 F.3d 507, 517 (5th Cir. 2017)

(further quotation marks omitted)). Dr. Murray and Dr. Linthicum are both proper

defendants under Ex parte Young.

      A. Dr. Murray Is a Proper Defendant Because He Instructed Ms.
         Haverkamp’s Clinicians Not to Refer Anyone for Sex-Reassignment
         Surgery

      The district court did not decide whether Dr. Murray is a proper defendant,

nor did it issue any judicial findings of fact resolving the disputed facts on the record

regarding Dr. Murray. See ROA.2647–48.



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      Importantly, the district court did not address Plaintiff’s claim that Defendants

were estopped from arguing that Dr. Murray was an improper defendant. See

ROA.2572–73 (making the argument). The record reveals that Defendants made

representations to the district court on this point, which the district court relied upon

in dismissing a former defendant, Dr. Penn. See ROA.1289–91, 1384. Moreover,

Defendants’ counsel sent an email opposing Plaintiff’s counsel request to re-add Dr.

Penn as a defendant because the already-named defendants were sufficient,

dissuading Plaintiff’s counsel from moving to amend to fix any problem by insisting

that there was not one. See ROA.4219 (email in which counsel made the

representation); ROA.2612 (arguing in sur-reply that “Defendants should be

estopped”).

      On its de novo review, this Court should hold that Dr. Murray is a proper

defendant. Alternatively, this Court should vacate and remand with instructions to

resolve all disputed facts and determine whether Dr. Murray is a proper defendant.

              i. Dr. Murray is judicially estopped from asserting he is an improper
                 defendant.

      “Judicial estoppel ‘prevents a party from asserting a position in a legal

proceeding that is contrary to a position previously taken in the same or some earlier

proceeding.’” Hall v. GE Plastic Pac. PTE Ltd., 327 F.3d 391, 396 (5th Cir. 2003)

(quoting Ergo Sci., Inc. v. Martin, 73 F.3d 595, 598 (5th Cir. 1996)). “In this Circuit,

‘two bases for judicial estoppel’ must be satisfied before a party can be estopped.

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First, it must be shown that ‘the position of the party to be estopped is clearly

inconsistent with its previous one; and [second,] that party must have convinced the

court to accept that previous position.’” Id. (alteration in original) (quoting Ahrens

v. Perot Sys. Corp., 205 F.3d 831, 833 (5th Cir. 2000)).

      Ms. Haverkamp satisfies both requirements. Defendants argued for the first

time in their motion for judgment on the pleadings that Dr. Murray—who was not

an appellant in Haverkamp I—was an improper defendant under Ex parte Young.

ROA.2511–12. This position is clearly inconsistent with Defendants’ prior position

in these proceedings, which Defendants convinced the court to adopt. In Haverkamp

I, this Court discussed the relevant procedural history as to Dr. Murray in detail. See

6 F.4th at 666–67 & 668 n.4. This Court explained that Defendants’ counsel stated

at a hearing that “in the event Plaintiff only seeks gender reassignment surgery, the

appropriate defendant would be Dr. Owen Murray.” Id. at 666. Relying “on the

State’s representations, the magistrate judge ordered Haverkamp to file an amended

complaint and proposed that Haverkamp ‘name Dr. Murray.’” Id. This Court further

described that “the district court ordered service of Haverkamp’s operative

complaint on Dr. Murray, whom the State earlier identified as the proper defendant

if Haverkamp were seeking sex-reassignment surgery.” Id. at 667.

      The district court was convinced by Defendants to agree with their previous

position, taking judicial action based on their statements. The district court dismissed



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Dr. Penn from the complaint based on representations by Defendants that “other

appropriate defendants capable of providing Plaintiff’s requested relief have been

identified in the amended complaint.” ROA 1384. The district court adopted the

magistrate judge’s report and recommendation, id., which was based on the

magistrate judge being “advised” that Dr. Murray was the “proper,” “appropriate”

defendant. ROA.1290–91.

      Defendant’s new position—that Dr. Murray is not a proper Defendant—thus

violates the principles of judicial estoppel. This Court should reverse and hold that

Dr. Murray is a proper defendant under Ex parte Young.

            ii. Dr. Murray is equitably estopped from asserting he is an improper
                defendant.

      This Court allows equitable estoppel claims to lie against state governments

as well as private parties. See Mangaroo v. Nelson, 864 F.2d 1202, 1204–05 & 1205

n.3 (5th Cir. 1989). “To invoke equitable estoppel against a private party, a litigant

must establish the four traditional common-law elements: (1) that the party to be

estopped was aware of the facts; (2) that the party to be estopped intended his act or

omission to be acted upon; (3) that the party asserting estoppel did not have

knowledge of the facts; and (4) that the party asserting estoppel reasonably relied on

the conduct of the other to his substantial injury.” Id. at 1204 (quoting Moody v.

United States, 783 F.2d 1244, 1246 (5th Cir. 1986)). To estop the government, the

plaintiff asserting estoppel must “allege more than mere negligence, delay, inaction,

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or failure to follow an internal agency guideline.” Id. at 1204–05 (quoting Fano v.

O’Neill, 806 F.2d 1262, 1265 (5th Cir. 1987)).

      When Plaintiff’s counsel asked Defendants’ counsel for their position as to

re-adding Dr. Penn as a defendant, Defendants’ counsel replied that Dr. Murray “has

the authority to provide all of the relief sought through this lawsuit. In other words,

if an injunction were to be issued against Dr. Murray in his official capacity, he . . .

would have the power to ensure that the terms of the injunction were satisfied.”

ROA.4219. Defendants’ counsel was aware of the facts because they represented the

various defendants and were part of litigating the case from the outset. Defendants’

counsel also intended for the statement to be acted upon, as he was disagreeing with

Plaintiff’s counsel’s request to add a Defendant.

      Plaintiff’s counsel relied on these representations without knowing whether

or not Dr. Murray truly had the ability to provide all relief. Persuaded by Defendants’

counsel and in reliance on the statement that Dr. Murray “has the authority to provide

all of the relief sought,” Plaintiff’s counsel decided not to amend the complaint. See

ROA.2612 (“As explained in Plaintiff’s Response, Plaintiff relied on Defendants’

counsel’s representation, did not file an amended complaint naming additional

defendants, proceeded with discovery, and incurred substantial time and expenses

based on the understanding from counsel that ‘Dr. Murray . . . along with the other

named Defendants, has the authority to provide all relief sought through this



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lawsuit.’”). Such a representation by Defendants’ counsel is far more than mere

negligence; at worst, it shows an intent to game the system by persuading Plaintiff’s

counsel not to name a defendant when Plaintiff’s counsel sought opposing party’s

positions before filing a motion to amend. This is precisely the type of conduct that

equitable estoppel is designed to remedy.

            iii. Dr. Murray enforced a blanket prohibition on sex-reassignment
                 surgery, in violation of the Equal Protection Clause.

      Separate and apart from her judicial estoppel arguments, Ms. Haverkamp also

argued before the district court that, “as a factual matter, Dr. Murray, as Vice

President of Inmate Health Services at UTMB and the UTMB Correctional Managed

Health Care Medical Director, is responsible for overseeing inmate medical care and

enforcing the Policy that is causing Defendants’ ongoing denial of Plaintiff’s

constitutional rights.” ROA.2573. Ms. Haverkamp quoted Dr. Meyer’s expert report,

in which he stated that he “was expressly told on several occasions by . . . Dr. Murray

. . . that [he was] not allowed to refer or recommend inmates for surgery as a

treatment for Gender Dysphoria.” ROA.2575 (quoting ROA.4254–55 ¶ 93). Dr.

Meyer was treating Ms. Haverkamp at the time he understood this to be the operative

policy at his clinic. See ROA.4255 ¶ 93 (“While I treated inmates at the

UTMB/TDCJ Gender Dysphoria Specialty Clinic from 2013 through 2018, I and the

other Gender Dysphoria Specialty Clinic consultants were prohibited from

recommending or referring any inmate for sex-reassignment surgery as a treatment

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for Gender Dysphoria.”). In September 2015, for instance, Dr. Meyer told Ms.

Haverkamp that “TDCJ would not pay for sex-reassignment surgery.” ROA.4240.

Defendants agreed in Dr. Penn’s 30(b)(6) deposition that Ms. Haverkamp requested

surgery from Dr. Meyer, ROA.4530 at 184:21–24, and acknowledged that a nurse

practitioner wrote a medical note in 2021 indicating that Ms. Haverkamp “continues

to work with an attorney to pursue legal action regarding gender-affirming

treatments” and “would like to receive additional therapies.” ROA.4533 at 193.

      Because Dr. Murray prohibited the Gender Dysphoria Specialty Clinic

consultants from recommending or referring Ms. Haverkamp for sex-reassignment

surgery, Ms. Haverkamp was not referred for surgery, despite her physician, Dr.

Meyer, stating before that surgery would be available to her. See ROA.4256. She did

not receive a referral to surgery despite the fact that she long surpassed the one-year

durational recommendation for being in the female hormone range before receiving

sex-reassignment surgery. See ROA.4240–43 (noting Ms. Haverkamp’s testosterone

levels were within the female range in March 2016, October 2021, and April 2022).

She had also made her interest in gender-affirming surgery known to her providers

over the years through her self-reports at evaluations as well as through grievances,

all of which were denied. See ROA.4240, 4255–56. As Dr. Meyer testified, “TDCJ

inmates cannot receive surgery to change their sex,” at the direction of Dr. Murray.

ROA.4229, 4254, 4255. Dr. Murray’s directive enforced a prohibitive ban on sex-



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reassignment surgery and was therefore sufficiently connected to the constitutional

violation to waive his sovereign immunity. See Ostrewich v. Tatum, 72 F.4th 94, 100

(5th Cir. 2023). Accordingly, Dr. Murray meets the “requisite connection” under Ex

parte Young through his “compulsion” in enforcing the policy ban through his

directive to Dr. Meyer. Tex. Democratic Party, 961 F.3d at 401 (citations omitted).

      Dr. Murray denies that he enforced a prohibition on surgery referrals, in direct

conflict with Dr. Meyer’s testimony. ROA.4451 at 65–67. But Dr. Meyer’s

testimony described above shows otherwise. Further, Dr. Penn agreed that the

gender specialty clinicians “don’t know that they have the authority to refer inmates

for surgery as a treatment for gender dysphoria.” ROA.4539 at 220. It is enough that

Dr. Murray, “through [his] conduct, ‘compel[s] or constrain[s persons] to obey” a

practice called into question by Ms. Haverkamp. Mi Familia Vota v. Ogg, 105 F.4th

313, 325 (5th Cir. 2024) (quoting Tex. All. for Retired Ams. v. Scott, 28 F.4th 669,

672 (5th Cir. 2022)).

      Given that Dr. Murray’s testimony directly conflicts with Dr. Meyer’s

testimony,9 if this Court agrees with Ms. Haverkamp’s argument below, see infra


9
 Dr. Murray’s testimony is also internally inconsistent. Despite Dr. Murray’s and
Dr. Penn’s testimony that they do not intervene in the care the Gender Dysphoria
Specialty Clinic consultants provide, see ROA.4538 at 215, Dr. Murray testified that
he and Dr. Linthicum must approve any referrals for sex-reassignment surgery
before they are submitted to the medical department, see ROA.4446 at 45:7–46:1.
Dr. Penn offered the same contradicting testimony. See ROA.4488 at 13–14 (stating
he, Dr. Murray, and Dr. Linthicum would “review” any referral for sex-reassignment

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pp. 35–51, then it should vacate and remand for the district court to resolve the

disputed facts regarding the appropriate defendants before making its final sovereign

immunity determination. See Flores, 936 F.3d at 276.

      B. Dr. Linthicum Is a Proper Defendant Because She Enforced a Ban on
         Sex-Reassignment Surgery Under TDCJ Policy

      In reviewing Defendant Linthicum’s status as a proper party under Ex parte

Young, the district court erred by not assessing the full pleadings and facts in the

record. Ms. Haverkamp alleged that at the relevant time period when Ms.

Haverkamp was denied treatment, Dr. Linthicum had the authority to administer,

manage, and supervise the daily operations of the Committee’s health care plan.

ROA.2369 ¶ 18.10 The evidence also confirmed that Dr. Linthicum is the TDCJ

Medical Director and is responsible for all decisions regarding sex-reassignment

surgery, including whether a particular medical treatment is medically necessary or

elective, and administering the TDCJ-UTMB Inmate Health Services Plan and

Contract.



surgery). Such a review before a request is made to the medical providers is precisely
the type of intervention that Dr. Murray disavowed.
10
   This factual allegation is undisputed. Defendants disputed Ms. Haverkamp’s
allegation that Dr. Linthicum denied Ms. Haverkamp’s Step Two grievance and thus
denied her medically necessary care that other women can access. ROA.2376–77
¶¶ 45, 48; see ROA.2441 ¶¶ 45, 48 (denying allegations in Answer); ROA.2510–11
(arguing Dr. Linthicum did not respond to Haverkamp’s March 3, 2016 grievance).
Ms. Haverkamp does not advance the claim that the grievance ties Dr. Linthicum to
Ms. Haverkamp’s denial.

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      Dr. Linthicum’s public statements and statements to her subordinates

indicated her enforcement of a statewide prohibition on sex-reassignment surgery

for people in TDCJ custody. See ROA.2576–77. Dr. Linthicum made official

statements to the public and the press expressing the policy that sex-reassignment

surgery “is not a covered benefit under the Offender Health Care Plan.” ROA.4638;

see also ROA.4639–40. Dr. Linthicum also approved such statements in a TDCJ

“Fact Sheet,” which states: “Inmates cannot receive surgery to change their sex,

which would be considered elective and not medically necessary.” ROA.4658. Such

statements confirm that Dr. Linthicum, in her official capacity as medical director

of TDCJ, enforced a policy banning such surgeries and announced that policy

publicly. Dr. Linthicum enforced this policy in her “review” of any referral for sex-

reassignment surgery. ROA.4538 at 213–14; see also ROA.4446 at 45:7–46:1. After

all, “the bare minimum appears to be ‘some scintilla’ of affirmative action by the

state official.” Tex. Democratic Party, 961 F.3d at 401 (quoting Paxton, 943 F.3d at

1002). At the very least, Dr. Linthicum here showed “‘a demonstrated willingness

to exercise’ [her] enforcement duty.” Id. (quoting Morris v. Livingston, 739 F.3d

740, 746 (5th Cir. 2014)).

      Finally, the Inmate Health Service Plan states: “No proceeds from this

contract shall be used to pay for elective cosmetic surgery without prior written

approval of the TDCJ division director for Health Services.” ROA.4508 at 96. Dr.



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Linthicum had previously “give[n] verbal approval for elective cosmetic surgery.”

ROA.4508 at 96. Specifically, Dr. Penn testified that Dr. Linthicum approved breast

reconstruction with implants for a cisgender woman after she had a mastectomy.

ROA.4509 at 97. And yet, Dr. Linthicum stated numerous times that she would not

permit sex-reassignment surgery. ROA.2576, 4638–40. These facts tie Dr.

Linthicum to the challenged action in this case. Accordingly, the district court’s

finding that Dr. Linthicum is an improper defendant is clearly erroneous.

III.   Ms. Haverkamp’s Requested Relief Is Permissible Under Ex parte Young

       This Court has recently laid out the “three basic elements of an Ex parte Young

lawsuit.” Williams ex rel. J.E. v. Reeves, 954 F.3d 729, 736 (5th Cir. 2020). “The

suit must: (1) be brought against state officers who are acting in their official

capacities; (2) seek prospective relief to redress ongoing conduct; and (3) allege a

violation of federal, not state, law.” Id. The relief sought must be equitable relief. Id.

       When “determining whether the doctrine of Ex parte Young avoids an

Eleventh Amendment bar to suit, a court need only conduct a straightforward inquiry

into whether [the] complaint alleges an ongoing violation of federal law and seeks

relief properly characterized as prospective.” Verizon Md. Inc. v. Pub. Serv. Comm’n

of Md., 535 U.S. 635, 645 (2002) (quotation marks omitted). Importantly, the

Supreme Court has stressed that “whether suit lies under Ex parte Young does not

include an analysis of the merits of the claim.” Id. at 646.



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      A. The District Court Erred by Reaching the Merits While Conducting
         Its Ex parte Young Analysis.

      In their motion for judgment on the pleadings, Defendants relied on an Equal

Protection Clause merits argument to assert that there is no ongoing violation of

federal law. ROA.2513–14. They also argued that an injunction seeking sex-

reassignment surgery “requires them to take affirmative, discretionary action in their

official capacities” and therefore is impermissible. ROA.2512. Defendants are

wrong on both counts. And the district court erred by agreeing with Defendants. See

ROA.2648–50 (conducting an analysis that erroneously looked to the merits when

analyzing Dr. Murray’s sovereign immunity). The district court’s analysis extending

Gibson’s Eighth Amendment holding to the Equal Protection Clause claim at hand

is precisely the type of merits analysis that is not permitted when considering

“whether suit lies under Ex parte Young.” Verizon, 535 U.S. at 646. This Court

should reverse on sovereign immunity grounds.

      The case law is clear: analyzing whether sovereign immunity bars a claim

does not depend on a merits analysis at all. See Verizon, 535 U.S. at 646. This Court

has held that “there is ‘no support’ for the notion that ‘a court must determine the

validity of a plaintiff’s cause of action in the course of deciding whether an Ex parte

Young suit can proceed in the face of a state’s Eleventh Amendment defense.’”

Williams, 954 F.3d at 736 n.5 (quoting McCarthy ex rel. Travis v. Hawkins, 381 F.3d

407, 415 (5th Cir. 2004)). So long as a plaintiff alleges forward-looking “relief for

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what they allege to be defendants’ ongoing violation of federal law,” the relief “is

the type of relief permitted under Ex parte Young.” Id. at 738.

      Ms. Haverkamp has done exactly that. She alleged that Defendants Murray

and Linthicum prohibited her from being referred for sex-reassignment surgery

through their enforcement of a policy ban. The Inmate Health Services Plan states:

“No proceeds from this contract shall be used to pay for elective cosmetic surgery

without prior written approval of the TDCJ division director for Health Services.”

ROA.4508 at 96. Dr. Linthicum made official statements indicating that sex-

reassignment surgery shall not be covered. ROA.2576, ROA.4638–40. Dr. Murray

explicitly instructed his staff at the Gender Dysphoria Specialty Clinic—the only

TDCJ staff who can diagnose individuals with gender dysphoria pursuant to policy

G-51.1, see ROA.3306—that they could not refer patients for sex-reassignment

surgery, and has never told any clinician that they have the authority to recommend

surgery as a treatment for gender dysphoria under that policy. See ROA.4255 at ¶ 93.

Because Defendants Murray and Linthicum continue to refuse Ms. Haverkamp a

referral for surgery, she challenges an ongoing violation. And she has raised claims

of federal law violations, not state-law violations. See Pennhurst State Sch. & Hosp.

v. Halderman, 465 U.S. 89, 124–25 (1984). Ms. Haverkamp thus meets all elements

of the Ex parte Young claim. Looking into the merits of her claim whatsoever—to




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test their possibility, plausibility, or probability11—is invalid at this stage of the

sovereign immunity analysis. See Verizon, 535 U.S. at 646. In order to reach the

merits, the district court must address Defendants’ motion for summary judgment.

      Because a motion for judgment on the pleadings under Rule 12(c) is not a

valid vehicle for challenging the merits of Ms. Haverkamp’s claim, any merits

dispute is not before this Court’s review of the district court’s order. See Steel Co. v.

Citizens for a Better Env’t, 523 U.S. 83, 93–94 (1998); FDIC v. Meyer, 510 U.S.

471, 475 (1994) (“Sovereign immunity is jurisdictional in nature.”); Book People,

Inc. v. Wong, 91 F.4th 318, 336 (5th Cir. 2024) (“Satisfied that we have jurisdiction,

we now turn to the merits of the preliminary injunction.”). Therefore, without

addressing the merits of the underlying Equal Protection Clause claim whatsoever,

this Court should vacate and remand.




11
   There is no inquiry into plausibility here, unlike in the Rule 12(b)(6) context,
because Defendants have not alleged in their motion for judgment on the pleadings
that Ms. Haverkamp failed to state a claim for relief; they argued only that the district
court lacked subject-matter jurisdiction. See ROA.2503. Even if this Court were
presented with a Rule 12(b)(6) motion, however—as it was in Haverkamp I—the
plausibility standard does not require resolving the merits or finding a likelihood of
success. See Walker v. Beaumont Indep. Sch. Dist., 938 F.3d 724, 735 (5th Cir. 2019)
(“[A] ‘well-pleaded complaint may proceed even if it appears that a recovery is very
remote and unlikely.” (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556
(2007))).

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      B. Ms. Haverkamp’s Request to Enjoin Dr. Murray and Dr. Linthicum
         from Prohibiting Sex-Reassignment Surgery Is Within the
         Permissible Scope of Ex parte Young Relief.

      All that is left is Defendants’ argument that Ms. Haverkamp asks the district

court to issue an injunction that falls outside the scope of relief available under Ex

parte Young. See ROA.2512–13. The district court held that because ordering sex-

reassignment surgery is a “highly discretionary decision,” “an injunction requiring

Dr. Murray or medical providers under his direction to perform [it] would impose

upon their medical discretion in a manner that Ex parte Young prohibits.”

ROA.2648–49. The district court plucked out “factors” from Ms. Haverkamp’s

physical health to illustrate what “would impact the highly discretionary decision.”

ROA.2649. The district court made no mention of Dr. Meyer’s unrebutted,

unchallenged conflicting testimony addressing those factors, or Dr. Meyer’s expert

opinion that sex-reassignment surgery is medically necessary for Ms. Haverkamp.

ROA.4229–30, ROA.4245.

      Moreover, the district court cited this Court’s Eighth Amendment case law

that found a “‘robust and substantial good faith disagreement dividing respected

members of the expert medical community’ about whether [sex-reassignment

surgery] is medically necessary or beneficial for treating gender dysphoria.”

ROA.2649 (citing Gibson, 920 F.3d at 220). The district court also cited Richardson

v. Secretary of State, 978 F.3d 220, 242 (5th Cir. 2020), for the broad principle that



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“a court may not control an officer in the exercise of his discretion.” ROA.2649

(cleaned up).

                i. Assessing the proper scope of relief under Ex parte Young does
                   not include conducting a merits analysis.

      First, the district court conflated the merits analysis of Ms. Haverkamp’s

Equal Protection Clause claim with the question of the proper scope of Ex parte

Young relief. But as stated above, “the inquiry into whether suit lies under Ex parte

Young does not include an analysis of the merits of the claim.” Verizon, 535 U.S. at

646. Discussing Ms. Haverkamp’s health and individual risk factors, relying on

Gibson’s discussion of the medical community’s divide over the benefits of sex-

reassignment surgery, and extending Gibson’s Eighth Amendment holding to the

Equal Protection Clause claim at hand are all points of argument for the merits

analysis of Ms. Haverkamp’s claim. But because the district court did not reach

Defendants’ motion for summary judgment, the merits of Ms. Haverkamp’s claim

were not before the district court. In conducting a sovereign immunity analysis, the

district court simply does not “determine the validity of a plaintiff’s cause of action.”

Williams, 954 F.3d at 736 n.5.

             ii. Ms. Haverkamp seeks an affirmative injunction that is within the
                 permissible scope of relief of Ex parte Young.

      Ms. Haverkamp seeks medically necessary care that she has alleged is

constitutionally mandated by the Equal Protection Clause. As a general matter, this



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Court allows suits seeking injunctions in Ex parte Young cases to ensure that state

officers comply with federal law. See, e.g., Freedom from Religion Found. v. Abbott,

955 F.3d 417, 424 (5th Cir. 2020); Nelson v. Univ. of Tex. at Dallas, 535 F.3d 318,

324 (5th Cir. 2008). Prisons are no exception. See Hope v. Harris, 861 F. App’x 571,

578 (5th Cir. 2021) (“[W]e note that generally all institutional litigation involving

state prisons . . . is brought under the Ex parte Young exception. In fact, the exception

is so well established in that context that such cases often do not even mention Ex

parte Young.” (quoting Brennan v. Stewart, 834 F.2d 1248, 1252 n.6 (5th Cir. 1988)

(cleaned up)).

      Such compliance includes providing constitutionally mandated medical care.

As Ms. Haverkamp argued below, ROA.2581, this Court’s decision in Delaughter

v. Woodall, 909 F.3d 130 (5th Cir. 2017), which held that the “Ex parte Young

exception applied” where the plaintiff alleged “that defendants violated his Eighth

Amendment rights by failing to provide required hip surgery,” is dispositive here.

Id. at 137. Delaughter directly refutes Defendants’ argument, adopted by the district

court, that an affirmative injunction that requires defendants to provide a particular

type of surgery should be barred at the outset under sovereign immunity.

      In reply, Defendants attempted to distinguish Delaughter by arguing that the

plaintiff there had already been referred by his prison medical provider to a

specialist, who ordered the surgery that was later cancelled. ROA.2608. Defendants



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argued that “by contrast, Haverkamp has not been referred to a specialist, much less

cleared for surgery by that specialist.” ROA.2608. But their argument concedes the

point at issue: the fact that Ms. Haverkamp has not been referred to a specialist

despite clear indications by medical providers, including Dr. Meyer and her

providers in more recent years, see ROA.4238–43, is itself evidence of the

prohibition Defendants have enforced. Dr. Meyer and his fellow clinicians in the

Gender Dysphoria Specialty Clinic were explicitly instructed by Defendant Murray

not to provide referrals for sex-reassignment surgery. ROA.4254–55. Dr. Murray

himself testified in a 30(b)(6) deposition that no one had ever received a referral for

sex-reassignment surgery, which is further circumstantial evidence of the ban.

ROA.4453 at 76.

      And even after this lawsuit was filed, after Dr. Penn and Dr. Linthicum

discussed Ms. Haverkamp’s care, they downplayed her need for surgery and even

doubted her continued experience of gender dysphoria, see ROA.4530–31, despite

the fact that in 2021 her treating physician stated Ms. Haverkamp “continued to

experience dysphoria,” ROA.4533 at 193. The fact that Defendants Murray and

Linthicum have prevented Ms. Haverkamp from meeting a surgical specialist with

expertise in gender dysphoria exhibits a discriminatory ban, particularly given Dr.

Penn’s testimony that Dr. Linthicum referred a cisgender woman to receive breast

reconstruction surgery. ROA.4509 at 97.



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      For all these reasons, Delaughter is far more applicable to Ms. Haverkamp’s

case than Richardson. In Richardson, a voting rights case, plaintiffs challenged

Texas’s absentee-ballot system. 978 F.3d at 226. They “asked for an injunction

requiring election officials to take various rapid affirmative steps to provide notice

to voters whose ballots have been rejected, to loosen absentee voter-identification

requirements, and to implement an elaborate and expedited process for challenges

by voters with rejected ballots.” Id. at 227. The district court issued an injunction

that “gave the Secretary [of State] a menu of actions that she must take,” including:

“either issue an advisory to local election officials requiring them to follow the

court’s newly devised signature-verification and voter-notification procedures, or

else promulgate an advisory requiring that officials cease rejecting ballots with

mismatched signatures altogether;” and “take action against any election officials

who fail to comply with the district court’s newly minted procedures.” Id. The

Secretary appealed the injunction and moved for a stay, arguing the absentee-ballot

procedures did not implicate plaintiffs’ due process rights and other related due

process merits claims. Id. at 228. The Secretary also raised a sovereign immunity

defense, which this Court held would likely prevail. See id. at 241. She argued “that

sovereign immunity bars the district court’s injunction requiring that she issue

particular advisories and take specific potential enforcement action against non-

complying officials.” Id.



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      This Court held that sovereign immunity applied in that case because the

specific affirmative actions the district court’s “sweeping order” required all fell into

the Secretary’s discretionary functions. Id. at 242. In dicta, Richardson stated that

“[w]hether Ex parte Young bars all affirmative injunctions against an officer ‘is an

unsettled question.’” Id. (emphasis added) (quoting Green Valley Special Util. Dist.

v. City of Schertz, 969 F.3d 460, 472 n.21 (5th Cir. 2020) (en banc)). Defendants

make much of this open question, but it does not offer any solid support for their

asserted proposition that an affirmative injunction cannot impede on any

discretionary functions of a state official.

       This Court has long held that prison injunctions requiring affirmative actions

by prison administrators do not offend sovereign immunity. See, e.g., Williams v.

Edwards, 547 F.2d 1206, 1209, 1212 (5th Cir. 1977) (allowing district court’s

injunctive order, which contained “a 15-page list of requirements concerning inmate

protection, medical care, maintenance, repair, construction and safety, food and

sanitation, racial discrimination and segregation, religious freedom, censorship of

mail, conditions of punitive and administrative confinement and procedural due

process,” id. at 1209). The numerous opinions from this Court that have allowed

prison injunctions to proceed even when they require affirmative actions by state

defendants, holding sovereign immunity did not bar the injunctive relief, are

consistent with the injunction sought here. See, e.g., Calhoun v. Collier, 78 F.4th



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846, 850–51 (5th Cir. 2023); Mayfield v. Tex. Dep’t of Crim. Just., 529 F.3d 599,

604–06 (5th Cir. 2008); Ganther v. Ingle, 75 F.3d 207, 210 (5th Cir. 1996). Ms.

Haverkamp simply requests that the policymakers acting as medical gatekeepers

here—Defendants Murray and Linthicum—comply with federal law by treating her

medical needs as equal to the needs of others, by either issuing her the surgery she

has sought since 2013—and has been physically eligible for since at least 2016—or

by permitting her medical care providers to refer her to a surgeon. The scope of Ms.

Haverkamp’s requested relief looks much more similar to the relief sought in

Delaughter and these other Fifth Circuit cases that have upheld prison-related

injunctions.

      Looking outside this circuit, Ms. Haverkamp’s case also bears similarities to

the Tenth Circuit’s case, Fowler v. Stitt, 104 F.4th 770 (10th Cir. 2024). In Fowler,

plaintiffs sought to amend their Oklahoma birth certificates with sex designations

that reflected their gender identities, but were denied on the basis of a Governor’s

Executive Order prohibiting further amendments with that intent. Id. at 774–75.

Plaintiffs sued under the Equal Protection Clause, alleging the Executive Order

discriminated on the basis of their transgender status and sex. Id. at 775. Because

plaintiffs sued state officials, Eleventh Amendment immunity was implicated. See

id. at 781. The Tenth Circuit permitted Plaintiffs’ relief sought, which included “[a]n

order permanently enjoining Defendants and their agents from enforcing the Policy,”



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“[a]n order directing Defendants to immediately provide Plaintiffs their amended

birth certificates as requested,” and “[a]n order directing Defendants to take any

necessary and appropriate action to ensure that transgender people can obtain

amended Oklahoma birth certificates that match their gender identity and do not

include information that would disclose their transgender status.” Id. at 782

(quotation marks omitted). Such actions are much more closely aligned to Ms.

Haverkamp’s requested relief than the novel actions ordered in Richardson.

Everything awarded by the relief would be similar to the provision of public services

the plaintiffs in Fowler and Ms. Haverkamp here could receive if they were not

transgender. The relief does not call for the creation of any new policies or structural

pathways to achieving the relief. The order simply requests lifting the discriminatory

ban on otherwise commonly accessible programs or services: birth certificate

amendments and surgical consultation referrals.

      Outside of the Fifth Circuit, there have been numerous decisions granting

injunctive relief of this precise scope. The most comparable case to Ms.

Haverkamp’s is Cordellioné v. Commissioner, Indiana Department of Correction,

No. 3:23-CV-135, 2024 WL 4333152 (S.D. Ind. Sept. 17, 2024). Ms. Cordellioné,

like Ms. Haverkamp, transitioned while incarcerated. Id. at *1. In prison, she was

prescribed hormones, was permitted to purchase female items from the commissary,

and was seen by mental health staff. Id. Once she started on hormones, she, like Ms.



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Haverkamp, informed her medical providers informally and through grievances that

her gender dysphoria continued and she felt she needed gender affirming surgery.

Id. at *13. And like Ms. Haverkamp, her providers first told her that surgery would

be available to her, but the prison later refused to refer her to a surgeon. Id. Like

TDCJ, the Indiana Department of Corrections partially justified the denial by saying

that she was too unwell to receive the surgery, pointing to comorbidities. Id. at *14;

cf. ROA.3764 (discussing Ms. Haverkamp’s health risk factors). But see ROA.4797-

98 (expert testimony determining surgery is both medically necessary for Ms.

Haverkamp and viable despite her comorbidities).

      Ms. Cordellioné sued the Commissioner of the Indiana Department of

Corrections, requesting a preliminary injunction. Cordellioné, No. 3:23-CV-135,

2024 WL 4333152 at *20. The district court, rejecting the prison’s purported basis

for denying her the surgery, granted the injunction. Id. The district court found that:

1) despite Ms. Cordellioné’s comorbidities, she was eligible for surgery; 2) surgery

was a safe and effective treatment; 3) Ms. Cordellioné receiving surgery would

neither pose a security risk nor impede with her rehabilitation. Id. at *15, *20. The

district court held that the surgery denial—“textbook sex discrimination”—violated

the Fourteenth Amendment’s Equal Protection Clause. Id. at *19 (quoting Kadel v.

Folwell, 100 F.4th 122, 153 (4th Cir. 2024)). Therefore, the court ordered the Indiana




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Department of Corrections to provide Ms. Cordellioné with surgery “at the earliest

opportunity.” Id. at *21.

      Another case from Connecticut is on point. In Clark v. Quiros, No. 3:19-CV-

575, 2024 WL 3552472 (D. Conn. July 26, 2024), Ms. Clark asked for gender-

affirming medical treatment. Id. at *8. The Connecticut DOC delayed in providing

the necessary medical treatment, including an adequate dosage of hormone therapy.

Id. at *8–13; cf. ROA.2392-94, 4857–58 (discussing the delays in providing Ms.

Haverkamp with the necessary treatment). Because of the delay in providing the

necessary medical care, Ms. Clark filed her lawsuit in 2019. Complaint, Clark v.

Quiros, No. 3:19-CV-575 (D. Conn. Apr. 17, 2019). Like in Ms. Haverkamp’s suit,

a threshold issue was whether Eleventh Amendment sovereign immunity barred the

claim. Clark, No. 3:19-CV-575, 2024 WL 3552472 at *17. The district court held

that it did not. Id. Having resolved the immunity question, after a bench trial, the

court granted Ms. Clark’s injunction. Id. at *2. It did so despite the fact that since

the case was filed, the Connecticut DOC began providing her with the proper

hormone dosage and electrolysis—a necessary preparation for the surgery needed—

and arranged a consultation with a surgeon. Id. at *12–13. The court held that “there

is not a sufficient basis to conclude that Ms. Clark’s gender dysphoria will be treated

effectively without court intervention.” Id. at *21.

      Cordellioné and Clark comport with the majority trend in cases across the



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country. Many federal courts are ordering Departments of Corrections to provide

this surgery when medically necessary. See, e.g., Edmo v. Corizon, Inc., 935 F.3d

757, 767 (9th Cir. 2019) (affirming the district court’s injunction requiring an Idaho

prison to provide surgery); Zayre-Brown v. N.C. Dep’t of Pub. Safety, No. 3:22-CV-

191, 2024 WL 1641795, at *4 (W.D.N.C. Apr. 16, 2024), appeal dismissed sub nom.

Zayre-Brown v. N.C. Dep’t of Adult Corr., No. 24-6477, 2024 WL 4925046 (4th Cir.

Nov. 25, 2024) (requiring the North Carolina prison to either provide the plaintiff

with surgery or set up a committee that would properly assess whether a surgery

referral would be in her best interest); Iglesias v. Fed. Bureau of Prisons, 598 F.

Supp. 3d 689, 701–09 (S.D. Ill. 2022) (holding that the federal Bureau of Prisons’

bureaucratic deflections, impeding the plaintiff’s referral for surgery and proper

housing placement, violated the Eighth Amendment and Fifth Amendment equal

protection); Campbell v. Kallas, No. 16-CV-261, 2020 WL 7230235, at *8 (W.D.

Wis. Dec. 8, 2020) (requiring a Wisconsin prison to schedule a consultation with a

qualified surgeon); Norsworthy v. Beard, 87 F. Supp. 3d 1164, 1195 (N.D. Cal.

2015), appeal dismissed, 802 F.3d 1090 (9th Cir. 2015) (granting a preliminary

injunction requiring the California prison to provide the plaintiff with surgery);

Soneeya v. Spencer, 851 F. Supp. 2d 228, 252 (D. Mass. 2012) (requiring a

Massachusetts prison to consider whether the plaintiff was a candidate for surgery).

At least as to the question presented here regarding the permissible scope of



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injunctive relief, this Court should not diverge from this trend.12

      Of course, when determining whether an injunction is within the permissible

scope of relief under Ex parte Young, this Court need not use so narrow a frame as

the precise sex-reassignment surgery at issue. Numerous cases in this circuit have

allowed injunctive relief ordering a surgery or some form of specialist care that was

found to be medically necessary and was unduly delayed or denied. See, e.g.,

Stevenson v. Toce, 113 F.4th 494, 500 (5th Cir. 2024) (affirming the denial of a

motion to dismiss where a prisoner-plaintiff sought damages and an injunctive order

for surgery to fix broken screws in his ankle); Delaughter, 909 F.3d at 137 (holding

an Ex parte Young exception applied where plaintiff alleged “that defendants

violated his Eighth Amendment rights by failing to provide required hip surgery and

requested in his prayer for relief that he ‘receive the surgery that he needs’”; Miles

v. Rich, 576 F. App’x 394, 395 (5th Cir. 2014) (affirming the denial of defendant’s

summary judgment motion where prisoner sought knee surgery).




12
  As mentioned, in dismissing Ms. Haverkamp’s claims, the district court relied on
Gibson v. Collier, 920 F.3d 212 (5th Cir. 2019). ROA.2649. Gibson, however, was
an Eighth Amendment medical deliberate indifference case, not a Fourteenth
Amendment Equal Protection Clause case. See Gibson, 920 F.3d at 215–16.
Furthermore, as stated above, see infra p. 36, “the inquiry into whether suit lies under
Ex parte Young does not include an analysis of the merits of the claim.” Verizon,
535 U.S. at 646. These cases are provided not to make an argument on the merits,
but because these injunctions disprove any issue with the scope of Ex parte Young
relief as to Ms. Haverkamp’s injunctive relief sought.

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      For all these reasons, when determining whether Ms. Haverkamp’s requested

relief falls within the permissible scope of relief under Ex parte Young, this Court

should not hesitate to conclude that it is. The district court could order Defendants

to provide a medically necessary surgery. This Court should reverse its decision

holding otherwise.

            iii. Ms. Haverkamp seeks a negative injunction in the alternative.

      Finally, Ms. Haverkamp’s prayer for relief includes a request for both an

affirmative injunction and an alternative negative injunction. Thus, even if this Court

finds that her request to order Defendants to provide her with gender reassignment

surgery is improper, Ms. Haverkamp’s alternative prayer for relief to enjoin

Defendants from implementing state policy in a way that prohibits her access to

surgery—i.e., enjoining Defendants from promulgating a categorical ban that treats

her differently from other women on the basis of her transgender identity—would

still be valid. ROA.2377–78 ¶¶ 51, 53, 58. Such a “negative” injunction does not

face the same scope of relief issues that the district court and Defendants raise for

discretionary affirmative injunctions.

                                  CONCLUSION

      This Court should reverse the district court’s judgment on the pleadings and

remand for further proceedings.




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Respectfully submitted,

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Dated: February 5, 2025




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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 5, 2025, I electronically filed the foregoing

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                                                      D Dangaran




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